                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:07cr61-2


UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
Vs.                                               )              ORDER
                                                  )
EMMANUEL ELLIS KELLER,                            )
                                                  )
                 Defendant.                       )
_______________________________                   )

        THIS MATTER is before the court on defendant’s “Motion for Assignment to a

Different Judge for Re-Sentencing.” While no response was required as the motion is not

dispositive, none was filed within the time otherwise allowed. L.Cr.R. 47.1(E).

        On remand from the Court of Appeals for the Fourth Circuit, defendant moves for

reassignment of this matter from Honorable Frank D. Whitney, United States District Judge,

for purposes of re-sentencing in light of the appellate court’s reference to Santobello v. New

York, 404 U.S. 257 (1971). See United States v. Keller, No. 09-4026, at p. 5 (4 th Cir. April

11, 2011). Specifically, the appellate court found as follows:

                Despite reassurances to the contrary, the AUSA specifically advocated
        for application of the enhancements when he commented in detail on the
        strength of evidence supporting the enhancements. We accordingly conclude
        that the Government breached the plea agreement. That the breach may have
        occurred while complying with the court’s directive for presentation of
        corroborating evidence does not lessen its impact. Santobello, 404 U.S. at
        262.

Id. The clear language of such decision suggests that the breach of the plea agreement was

not caused by the court’s direction that evidence be presented in support of presentence

services’ suggestion that an enhancement should be applied, but when the AUSA



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“commented in detail on the strength of evidence supporting the enhancements.” Id. The

remand came with no instructions directing or even suggesting re-assignment to another

judge.

         Recognizing the lack of any such suggestion, defendant instead argues that it would

be impossible for the judge who originally sentenced him to purge from his memory the

arguments made by the government as to the strength of the evidence supporting an

enhancement. This court disagrees with the premise of such argument as district judges are

routinely called upon to cull improper arguments. Further, district court judges routinely

instruct jurors to disregard improper evidence and arguments. The court finds, however, that

there is no need to reach the issue as the case has been reassigned to the undersigned for re-

sentencing due to the sentencing judge’s temporary absence. The motion will be denied as

moot and the Clerk instructed to set this matter on for re-sentencing during the next available

sentencing day.

         To avoid unnecessary costs associated with a new presentation of evidence, counsel

for the respective parties shall submit to the court a copy of the transcript of the sentencing

proceeding. In an abundance of caution, the court will direct counsel for the parties to meet

and jointly redact any comments made by the AUSA as to the strength of that evidence, any

comments of the court as to the strength of the evidence, and any responsive comments from

defense counsel that may allude to the comments of the court or government. Inasmuch as

this court has not reviewed any transcripts in the file – and will not do so until presented

with the redacted transcript – the parties should also confer on which, if any, physical

exhibits need to be resubmitted to the court. As arguments against enhancements do not

appear to be prohibited by the plea agreement, counsel for defendant may wish to redact any

of its responsive arguments from the transcript (which could reveal the strengths argued by

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the government) and present his arguments against application of any enhancement anew at

re-sentencing.

       Finally, review of the docket of the entire case reveals that a number of defendants

have been sentenced in this matter. In re-sentencing, the court has a duty under 18, United

States Code, Section 3553 to be certain, among other things, that the sentence avoid

unwarranted disparity. 18 U.S.C. § 3553(a)(6). To that end, the Presentence Officer will be

directed to prepare a chart of defendants in this case listing their criminal history categories,

their offense levels, and the sentences imposed.

       Any objections to the above procedure or suggestions of other alternative procedures

must be made within 14 days of issuance of this Order.



                                           ORDER

       IT IS, THEREFORE, ORDERED that

       (1)    defendant’s Motion for Assignment to a Different Judge for Re-Sentencing

              (#544) is DENIED as moot;

       (2)    the Clerk of this Court is respectfully directed to schedule this matter for re-

              sentencing during the next available sentencing date; and

       (3)    counsel for the respective parties are directed to meet and jointly redact the

              sentencing transcript as herein instructed, well in advance of the -re-sentencing

              hearing, and to submit that redacted transcript through ECF; and

       (4)    the Presentence Officer is respectfully directed prepare a sentencing chart as

              instructed above and submit it as a supplement to the final presentence report.




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                                 Signed: August 9, 2011




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